  Case: 1:17-cr-00096-SL Doc #: 127 Filed: 09/18/17 1 of 2. PageID #: 535




                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                  )        CASE NO. 1:17CR96-06
                                           )
                      PLAINTIFF,           )        JUDGE SARA LIOI
                                           )
vs.                                        )
                                           )        ORDER
NANCY RHODES,                              )
                                           )
                                           )
                      DEFENDANT.           )

       This matter is before the Court upon Magistrate Judge Limbert's Report and

Recommendation that the Court ACCEPT Defendant Nancy Rhodes' ("Defendant") plea

of guilty and enter a finding of guilty against Defendant. (Doc. No. 109.)

       On March 15, 2017, the government filed an Indictment against Defendant. (Doc.

No. 1.) On August 11, 2017, this Court issued an order assigning this case to Magistrate

Judge Limbert for the purpose of receiving Defendant's guilty plea. (Doc. No. 93.)

       On August 22, 2017, a hearing was held in which Defendant entered a plea of

guilty to Count 1 of the Indictment, charging her with Conspiracy to Possess with Intent

to Distribute and Distribute Controlled Substances, in violation of 21 U.S.C. Section 846.

Magistrate Judge Limbert received Defendant's guilty plea and issued a Report and

Recommendation ("R&R") recommending that this Court accept the plea and enter a

finding of guilty. (Doc. No. 109.)

       Neither party objected to the Magistrate Judge's R&R in the fourteen days after it

was issued.

       Upon de novo review of the record, the Magistrate Judge's R&R is ADOPTED.
  Case: 1:17-cr-00096-SL Doc #: 127 Filed: 09/18/17 2 of 2. PageID #: 536




Specifically, the Court finds as follows: that the defendant is competent to enter a plea,

that she understands her constitutional rights, that she is aware of the consequences of

entering a plea, and that there is an adequate factual basis for the plea. The Court further

finds that the plea was entered knowingly, intelligently, and voluntarily. Accordingly, the

Defendant's plea of guilty is APPROVED.

       Therefore, the Defendant is adjudged guilty of Count 1 in violation of 21 U.S.C.

Section 846. The sentencing will be held on November 28, 2017 at 11:00 a.m.

        IT IS SO ORDERED.



Dated: September 18, 2017
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE
